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IN THE UNITED S'l`A'l`F.S DlS'l`R|CT C()UI{'|` §. l l E`U

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OSUCT l2 PH 2=52

Ct.z- mrs
Cth)G 987

JESUS DANlEL (_`HAVF.Z
Plaintil`f`.
vs.

UNlON PAClP`[C RAILROAD
COMPANY

Defendant.

PLAlN'I`lFF’S ORIGINAL COMPLAlNT
To the llonorable Judgc ol` said Court:
COMES NOW_ JESIJS DANlEL CHAVEZ. hereinafter called Plaintill`, complaining of
UNION PACIFIC RAll,ROAD C.OMPANY. hereinafter referred to as Defendant. and for cause ol`
action would show:

l. JURlSDICTION

l. Jurisdiction is founded on Federal limployces` liability Act._ 45 USC. §§ 5|-6(). popularly
referred to as FELA.

COUNT l
2. At all times material hereto Plaintill` was a legal resident of Tularosa` Otero County. New

Mexico_ Dei`endant is and was a corporation duly organized. created and existing and by virtue of the
laws o|` the State ol` Delaware. with principal place of business in (`)maha. Ncbraska. as a railway
company and interstate commerce. and Plainti['f`was at all times herein material. in the employ of said

Dei`endant in such interstate railroad commerce l)el`endant may he served with summons by serving

Hobert H. Scott

Lourdes A. Martinez

far
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its registered agent for service of process in New Mexico, CT Corporation System, at 123 F.. Marcy
St.. Santa Fc. New Mexico. 87501.
Il. FACTS
3. As a part ot` l)e[`endant`s said system of railway extended into and through the City ol`
Orogrande. Otero County. New Mexico. where it maintained switching yards; that on or about the
15"` day of December 2004. Plaintii`l` was in the employ oi`Def`endant as a switchman!conductor: that
at and about 9:30 o'c|ock in the evening. while in the usual and customary performance of his duties`
and when he was located on the rear unit of a connected series of cars that was being backed f`or
switching to stationary cars on a siding by a student engineer at Def`endant’s yard at the City ol`
Orogrande. Otero County. New Mexico. by reason ot` said student engineer`s negligent operation
of one ol`its diesel locomotives with respect to speed. lookout. management and control, and failure
to give any kind of warning as to the approach of` said locomotive and the connected cars. PlaintilT
was caused to be in threat of a collision of the car upon which he was riding as it approached at an
excessive rate of speed. a stationary car for eoupling. and the apparent collision. and was in eminent
danger ol`being thrown E'om the car by the force ol`the oncoming collision when hejumped li'om the
car on which he was ridingq and as a result thereof was severely and permanently injured when he hit
the ground as hereina{ier set forth.
llI, DAMAG ES

4. By reason of the negligence of` the student engineer. as atoresaid, acting within the apparent
scope and course ot`his employment with Defendant, Plaintifl` was caused to sustain an injury to his

left and right shoulders, emanating into his left and right arm, for which he has sought medical

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treatment. but for which he has not been cured, but instead has painful and evidently permanent
disability.

IV.
5. By reason ofsustaining said injuries Plaintiffhas in the past. and will in the future. be required
to incur and pay out various sums of money for necessary medical and hospital care and attention and
mcdications; that he has in the past. and will in the future sustain a loss of substantial surn.s of money
for such medical expenses. past. present and future pain and disability. by reason of his painful and

permanent injury and disability.

V.
6. By reason ofthe foregoing Plaintitf has sustained damages at the hands ofthe l)efendant in
the sum of$250.000.00.
COUNT 2

in the alternative. but without waiving the abovc, (_`omes now. the l’laintii"t`, and alleges:

l.
7. PlaintiH`realleges Paragraphs l and II ofthe foregoing Count l.
II.
8. A part of Defendant`s said system of railway extended into and through the City of

Orogrande. ()tero County. New Mexico. where it maintained various switching yards and sidings;
that on or about the 15“‘ day ofl)ecember, 2004. the Plaintiif was in the employ of the l)cfendant as
a switchman/eonductor; and that at and about 9:30 in the cvening. while in the usual and customary
performance ofhis duties and when he was located on a car being backed into a siding for coupling

with some stationary cars in Delendant’s yard at the City of Orogrande. State of New Mexico, by

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reason of I)efendant`s violation of 49e-C FR. Pa.rt 214, Railroad Workplace Safety. §2l 4.343 ofthe
lnterstate Commerce Commission. in assigning an employee to perform the duties of a roadway
worker. unless that employee has received training in the on-track safety procedures associated with
the assignment to be performed. and that employee has demonstrated the ability to fulfill the

responsibilities for on-track safety that are required of an individual railway worker performing that

assignment.
Ill.
9. Plaintiffreallegcs Paragraphs lll and IV of the first cause of action.
COUNT THREE

ln the altemative. but without waiving the above. Comes now. the Plaintif’f. and alleges:

I.
10. Plaintiff realleges Paragraphs l and II of the foregoing Counts One and Two.

ll.
ll. Plaintiff is informed and upon information and belief alleges` that a student engineer was
operating the switching and coupling operation on the locomotive controlling the train which was
being backed into stationary cars for coupling on or about the 15"‘ day of December, 2004, at night.
at approximately 9:30 o`clock p.m. The student engineer was not properly supervised and controlled
at the time of the event` and operated the locomotive and train at an unsafe rate of speed under the
circumstances then and there existing and in violation of 49e-C P`R, I’arts 21 7 and 240. in general. and
in particular. §§217.1]. 240. 125. 240. 127. 240.201. 240.203_. 240.21 l. 240.213. 240.221. 240.223.
and 240.229, in essentially permitting an unskilled and unquali|ied student engineer to perform a

dangerous operation at nightq at an excessive rate of speed under the circumstances then and there

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existing, and either without adequate supervision or with a supervisor that permitted unsafe
operation. placed P|aintiff in danger ol`being thrown from the train at an eminent collision.

WHERl`-ZFORH. Plaintiff demandsjudgment against Defendant in the sum of $250.000.00
together with the costs and disbursements of this action incurred herein.

IV.
12. By reason of the foregoing P|aintiff has sustained damages at the hands ofthe Defendant in
the amount of $250.00().00.
V. JURY I)EMAND
13. Plaintifl`s request trial by jury of their claims in this case.
Vl. PRAYER FOR REL|F.F

14. WHEREFORE. PRHMle€S CONSIDERED. Plaintiff prays that Defendant be summoned
to appear and answer herein, and that upon final hearing Plaintifl` have judgment over and against
Defendant in the amount of $250.000.00 with prejudgment and post-judgment interest as permitted
by law. all costs ofcourt in this behalfexpended, and such other and further relief. special or general.
at law or in equity. to which Plaintiff may show himselfto be justly entitled.

Respectiiil|y submitted.

titlEvARA. RP;al-:. BAUMANN. Col.owELl. & REEDMAN. LLIl
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New Mexico Bar No. 3732
Attomeys for Plaintiffs

 
 

